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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
KCB                                               271 Cadman Plaza East
F. #2018R02184                                    Brooklyn, New York 11201



                                                  July 22, 2019

By E-mail and ECF

The Honorable Ann M. Donnelly
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Lucio Celli
                     Criminal Docket No. 19-127 (AMD)

Dear Judge Donnelly:

               The government respectfully submits this letter to request that the status
conference in the above-captioned case, currently scheduled for July 24, 2019 at 11:00 a.m.,
be held instead on July 30, 2019 at 12:00 p.m., due to conflicts in the government’s and
defense counsel’s schedules. Further, the government respectfully requests that time be
excluded pursuant to the Speedy Trial Act until that date, for the reasons specified on the
record at the June 26, 2019 status conference. Defense counsel consents to this request.

                                                  Respectfully submitted,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                           By:     /s/ Kayla Bensing
                                                  Kayla Bensing
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